955 F.2d 42
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Paul Lee GARNER, Defendant-Appellant.
    No. 91-7323.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 3, 1992.Decided Feb. 14, 1992.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Winston-Salem.   Frank W. Bullock, Jr., District Judge.  (CR-88-160-WS, CA-91-120-6, CA-91-145-6)
      Paul Lee Garner, appellant pro se.
      Robert Holt Edmunds, Jr., United States Attorney, Greensboro, N.C. for appellee.
      M.D.N.C.
      AFFIRMED.
      Before WIDENER, HAMILTON and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Paul Lee Garner appeals the district court's order dismissing this action brought under 28 U.S.C. § 2255 (1988).   Petitioner's case was referred to a magistrate judge pursuant to 28 U.S.C. § 636(b)(1)(B) (1988).   The magistrate judge recommended that relief be denied and advised Garner that the failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.   Despite this warning, Garner failed to object to the magistrate judge's recommendation.
    
    
      2
      The timely filing of objections to a magistrate judge's recommendation is necessary to preserve appellate review of the substance of that recommendation where the parties have been warned that failure to object will waive appellate review.   Wright v. Collins, 766 F.2d 841, 846 (4th Cir.1985).   See generally Thomas v. Arn, 474 U.S. 140 (1985).   Garner has waived appellate review by failing to file objections after receiving proper notice.   We accordingly affirm the judgment of the district court.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      3
      AFFIRMED.
    
    